              Case 2:10-cv-01952-RSL Document 309 Filed 08/30/13 Page 1 of 1



 1

 2

 3

 4

 5

 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7                                           AT SEATTLE

 8
      JAMES MCDONALD,
 9                          Plaintiff,
                                                                   NO. C10-1952RSL
10
                     vs.
11
                                                                   ORDER OF DISMISSAL
      ONEWEST BANK, FSB, et al.,
12

13
                            Defendants.
14

15
            It having been reported to the Court on Wednesday, August 28, 2013 that the above cause has
16
     been settled, and no final order having yet been presented, NOW, THEREFORE,
17
            IT IS ORDERED that this cause be and the same is hereby DISMISSED. This dismissal shall be
18
     without prejudice to the right of any party upon good cause shown within sixty (60) days hereof to
19
     reopen this cause if the reported settlement is not consummated.
20
            The Clerk of the Court is instructed to send copies of this Order to all counsel of record.
21
            DATED this 29th day of August, 2013.
22

23

24                                                        A
                                                          Robert S. Lasnik
25                                                        United States District Judge

26

27

28   ORDER -1
